CaSe 17-09064-RL|\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 PQ 1 Of 37

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF INDIANA
INDIANAPOLIS DIVISION

IN RE:
James Martin Landwerlen aka James M. Landwerlen CASE NO. 17-09064-RLM-7

CHAPTER 7

Debtor

MOTION FOR ORDER AUTHORIZING
ABANDONMENT AND MODIFYING AUTOMATIC STAY

Comes now U.S. Bank National Association, as Trustee for Harborview Mortgage Loan Trust 2005-10, Mortgage

Loan Pass~Through Certificates, Series 2005-10, ("Creditor"), by and through its attomey, Codilis Law, LLC, and

in support of its Motion for Order Authorizing Abandonment and Modifying Automatic Stay, states as follows:

l.

The Creditor is the holder of a mortgage on the property located at 3114 South Ocean Boulevard, Highland
Beach FL 33487.

The Creditor holds a security interest in said property by way of written instruments, which were perfected
as provided by law. True and exact copies of said instruments, with proof of perfection, are attached hereto
and made a part hereof.

As of January 23, 2018 the payoff amount is $261,785.73 and the interest rate is 4.25000% per annum.
The real estate is valued at $260,000.00 on the bankruptcy schedules.

The debtor does not claim an exemption with respect to the subject property.

The Statement of Intention calls for surrender of the real estate to Creditor. The automatic stay should be
modified pursuant to ll U.S.C. §362(d)(l).

Said property is of inconsequential value and benefit to the estate and should be abandoned from the
bankruptcy estate pursuant to ll U.S.C. §554(b).

The creditor hereby waives the right under l l U.S.C. §362(e) to a hearing on this motion within thirty (30)

days of the date it is tiled.

WHEREFORE, this Creditor requests that:

l.

2.

3.

The Automatic Stay of this proceeding be terminated as to this Creditor, its agents, successors and assigns.
The subject property be abandoned from the bankruptcy estate.

That the Court waive the fourteen day stay of the Order granting this motion, pursuant to Bankruptcy Rule

CaSe 17-09064-RL|\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 Pg 2 Of 37

4001(a)(3); and

4. For any and all other just and proper relief that the Court sees fit.

Attomeys for Creditor

By: m b{, Q{,<MM\€L~

Kristin L. Durianski 24866-64
Codilis Law, LLC
Atty File: 1028688

 

This firm is deemed to be a debt collector.

CERTIFICATE OF SERVICE

I certify that on . (I/W/(@/r aj 20(8/ a copy of the attached was filed electronically. Notice of this filing will be
sent to the following parties through the Court's Electronic Case Filing System. Parties may access this filing
through the Court's system.

Michael Clifford Cooley; mcc@awmh.net
John J. Petr; petrtrustee@kgrlaw.com
United States Trustee, S.D., IN; ustpregionlO.in.ecf@usdoj.gov

l further certify that on l U/T 0b 20{5, a copy of the attached was mailed by depositing in the U.S. Mail to
the following:

James Martin Landwerlen
4574 Nance Lane
Greenwood, IN 46142

Attomeys for Creditor

By: Mh F{/D(A"`MO(/

Kristin L. Durianski 24866-64

 

Codilis Law, LLC

8050 Cleveland Place
Merrillville, IN 46410
(219) 736-5579
bankruptcy@codilis.com
Atty File: 1028688

.» saw aaa 01/25/18 EODalanalmanllalnulinmmm1/1

 

 
  
 
   
 

 

 

.. . l
g `¢`| _ ' . .. CF"N 2®@5@475145 g f
l~£ g 'RB““=”-'EQ=~ . - cn~z BI-r lessee Pr_-; aware é(
ge w FIRST NATIONAL BANK UF ARIZONA aaccnnsr) aa/aixaaas aa=a4:a? f

_'__ :':.' g P-U- BOX 66604 Pelm Beach County, Florida i
§§ §§ g PHUENIX, AZ 85082 AHT 3@4,@@@_99 !

0 »¢\‘> Deed Doc'. 1,@64.00
§§ 2 ._l raising eas.aa
~%E i< u'; , , Sharnn R. BCICk, CLERK 81 CUHFTRULLER

§§ 16 g § Thisdocur Pus 074@ - 766: t27ncis) .
\l_§ o 3 g REBECCA
§§ 3 5 m 14635 N

&._E 2 3 >. SCOTTSDF
's€”§

g 3 n
[Space Above This Line For Recording Data]
MORTGAGE
MIN |_
DEFINITIONS

Words used in multiple sections of this document are defined below and other words are defined in

Sections 3, 11, 13, 18, 20 and 21. Certain rules regarding the usage of words used in this document are
also provided in Section 16.

(A) "Security Instrument“ means this document, Which is dated JUNE 30, 2005
together with all Ridcrs to this document.

(B) "Borrower"is JAMES M. LANDWERLEN, A MARRIED MAN

Borrower is the mortgagor under this Security Instrument.

(C) “MERS" is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation that is
acting solely as a nominee for Lender and Lender’s successors and assigns. MERS is the mortgagee
under this Security Instrument. MERS is organized and existing under the laws of Delaware, and has an
address and telephone number of P.O. Box 2026, Flint, MI 48501-2026, tel. (SSS) 679-MERS.

(D) "Lender" is FiRST NATIONA|_ BANK OF ARIZONA

FLOR|DA-Sl`ngle Fal'ni|y-Farlnie N|aelFreddie N`lac UN|FORM lNSTRUN|ENT WlTH MERS Forrrl 3010 1101

Q§-eAlFL) cocoa _
Page 1 of 1 6 MW 05»‘00 lnitials.
vMP Moi=n'cace Fonms » c3001521- 291

 

 

' CaSe 17-09064-RL|\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 Pg 4 Of 37

Lender is a CORPURATION
organized and existing under the laws of THE UNITED STATES 0F AMERICA
Lender’s address is 14635 N KIERLAND BLVD. #201, SCUiTSDALE, AZ 85254

(E) "Note" means the promissory note signed by Borrower and dated JUNE 30 . 2005

The Note states that Borrower owes Lender THREE HUNDRED FOUR THUUSAND AND N0/ 100
Dollars

(U.S. $ 304 , 000 . 00 ) plus interest. Borrower has promised to pay this debt in regular Periodic

Payments and to pay the debt in full not later than JULY l , 2035 -

{F) "Property" means the property that is described below under the heading "Transfer of Rights in the

Property. "

(G) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges

due under the Note, and all sums due under this Security Instrument, plus interest

(H) "Riders" means all Riders to this Security Insrmment that are executed by Borrower. The following

Riclers are to be executed by Borrower [check box as applicable]:

Adjustable Rate Rider Di:| Condominium Rider Second Home Rider
[l Beneen aider l:| named unit neveiepmedi aider \:| 1-4 samin aider
\:l VA Rider \:l Biweekly Payment Rider \:l Other(s) [specify]

(l) "Applicable Law" means all controlling applicable federal, state and local statutes, regulations,
ordinances and administrative rules and orders (that have the effect of law) as well as all applicable tinal,
non~appealable judicial opinions

(.l) "Community Association Dues, Fees, and Assessments" means all dues, fees, assessments and other
charges that are imposed on Borrower or the Property by a condominium association, homeowners
association or similar organization

(K) "Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by
check, draft, or similar paper instrument, which is initiated through an electronic terminal, telephonic
instrument, computer, or magnetic tape so as to order, instruct, or authorize a financial institution to debit
or credit an account. Such term includes, but is not limited to, point-of-sale transfers, automated teller
machine transactions, transfers initiated by telephone, wire transfers, and automated clearinghouse
transfers

(L) "Escrow Items" means those items that are described in Section 3.

(M) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid
by any third party (other than insurance proceeds paid under the coverages described in Section 5) for: (i)
damage to, or destruction of, the Property; (ii) condemnation or other taking cf all or any part of the
Property; (iii) conveyance in lieu of condemnation; or (iv) misrepresentations of, or omissions as to, thc
value and/or condition of the Propcrty.

(N) "Mortgage lnsurance" means insurance protecting Lender against the nonpayment of, or default on,
the Loan.

(O) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the
Note, plus (ii) any amounts under Section 3 of this Security Instrument.

lnitia s;_ -
Form 3010 1101

@®-GAlFLl cooosi Page 2 er 16

 

 

 

 

CaSe 17-09064-RL|\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 Pg 5 Of 37

l
7

(P) 'lRESPAj' means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq.) and its
implementing regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time to
time, cr any additional or successor legislation or regulation that governs the same subject matter. As used
in this Security Instrument, "RESPA" refers to all requirements and restrictions that are imposed in regard
to a "federally related mortgage loan" even if the Loan does not qualify as a "federally related mortgage
loan" under RESPA.

(Q) "Successor in Interest of Borrower" means any party that has taken title to the Property, whether or
not that party has assumed Borrower’s obligations under the Note and/or this Security Instrument.

TRANSFER OF RIGHTS IN THE PROPERTY

This Security Instrument secures to Lender: (i) the repayment of the Loan, and all renewals, extensions and
modifications of the Note; and (ii) the performance of Borrower’s covenants and agreements under this
Security Instrument and the Note. For this purpose, Borrower does hereby mortgage, grant and convey to
MERS (soiely as nominee for Lender and Lender’s successors and assigns) and to the successors and
assigns of MERS, the following described property located in the COUNTY -l"l`ype Of Re~”-Ordins J“risdi¢fi°nl
Of PA]_M BEACH [Name ofRecording Jurisdiction]:
SEE LEGAL DESCRIPTION ATTACHED HERETU AND MADE A PARTOF:

Parcel ID Number: 24434633090003080 which currently has the address of
3114 SOUTl-| OCEAN BOULEVARD#BOB [streer]
HIGHLAND BEACH [cicy], Florida 33487 [zip cede]

(“Property Address"):

TOGETHER WITH all the improvements now or hereafter erected on the property, and all
easements, appurtenances, and fixtures now or hereafter a part of the property. All replacements and
additions shall also be covered by this Security Instrument. All of the foregoing is referred to in this
Security Instrument as the "Property." Borrower understands and agrees that MERS holds only legal title
to the interests granted by Borrower in this Security Instrument, but, if necessary to comply with law or
custom, MERS (as nominee for Lender and Lender’s Successors and assigns) has the right: to exercise any
or all of those interests, including, but not limited to, the right to foreclose and sell the Property; and to
§alce any action required of Lender including, but not limited to, releasing and canceling this Security
nstrument.

|_l _ miami
, Form 3010 1101

Q_)-SA(FL) cooos) edge 3 er is

CaSe 17-09064-RL|\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 Pg 6 Of 37

-BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has
the right to mortgage, grant and convey the Property and that the Property is unencumbered, except for
encumbrances of record. Borrower warrants and will defend generally the title to the Property against all
claims and demands, subject to any encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real
property.

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1. Payment of Principal, lnterest, Escrow Items, Prepayment Charges, and Late Charges.
Borrower shall pay when due the principal of, and interest on, the debt evidenced by the Note and any
prepayment charges and late charges due under the Note. Borrower shall also pay funds for Escrow Items
pursuant to Section 3. Payments due under the Note and this Security Instrument shall be made in U.S.
currency. I-Iowever, if any check or other instrument received by Lender as payment under the Note or this
Security Instrument is returned to Lender unpaid, Lender may require that any or all subsequent payments
due under the Note and this Security Instrument be made in one or more of the following forms, as
selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer’s check or
cashier’s check, provided any such check is drawn upon an institution whose deposits are insured by a
federal agency, instrumentality, or entity; or (d) Blectronic Funds Transfer.

Payments are deemed received by Lender when received at the location designated in the Note or at
such other location as may be designated by Lender in accordance with the notice provisions in Section 15.
Lender may return any payment or partial payment if the payment or partial payments are insufficient to
bring the Loan current. Lender may accept any payment or partial payment insufficient to bring the Loan
current, without waiver of any rights hereunder or prejudice to its rights to refuse such payment or partial
payments in the future, but Lender is not obligated to apply such payments at the time such payments are
accepted If each Periodic Payment is applied as of its scheduled due date, then Lender need not pay
interest on unapplied funds. Lender may hold such unapplied funds until Borrower makes payment to bring
the Loan current. If Borrower does not do so within a reasonable period of time, Lender shall either apply
such funds or return them to Borrower. If not applied earlier, such funds will be applied to the outstanding
principal balance under the Note immediately prior to foreclosure No offset or claim which Borrower
might have now or in the iiiture against Lender shall relieve Borrower from making payments due under
the Note and this Security Instrument or performing the covenants and agreements secured by this Security
Instrument.

2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all
payments accepted and applied by Lender shall be applied in the following order of priority: (a) interest
due under the Note; (b) principal due under the Note; (c) amounts due under Section 3. Such payments
shall be applied to each Periodic Payment in the order in which it became due. Any remaining amounts
shall be applied first to late charges, second to any other amounts due under this Security Instrument, and
then to reduce the principal balance of the Note.

If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
sufficient amount to pay any late charge due, the payment may be applied to the delinquent payment and
thc late charge If more than one Periodic Payment is outstanding, Lender may apply any payment received
from Borrower to the repayment of the Periodic Payments if, and to the extent that, each payment

lnlt l °
@®-eau=t) moon variations ii '=' Form 3010 1101

 

 

CaSe 17-09064-RL|\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 Pg 7 Of 37

l »
l , l

can be paid in full. To the extent that any excess exists after the payment is applied to the full payment of
one or more Periodic Payments, such excess may be applied to any late charges due. Voluntary
prepayments shall be applied first to any prepayment charges and then as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under
the Note shall not extend or postpone the due date, or change the arnount, of the Periodic Payments.

3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due
under the Note, until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due
for: (a) taxes and assessments and other items which can attain priority over this Security Instrument as a
lien or encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if any; (c)
premiums for any and all insurance required by Lender under Section 5; and (d) Mortgage Insurance
premiums, if any, or any sums payable by Borrower to Lender in lieu of the payment of Mortgage
Insurance premiums in accordance with the provisions of Section 10. These items are called "Escrow
Items." At origination or at any time during the term of the Loan, Lender may require that Community
Association Dues, Fees, and Assessments, if any, be escrowed by Borrower, and such dues, fees and
assessments shall be an Escrow Item. Borrower shall promptly furnish to Lender all notices of amounts to
be paid under this Section. Borrower shall pay Lender the Funds for Escrow Items unless Lender waives
Borrower’s obligation to pay the Funds for any or all Escrow Items. Lender may waive Borrower’s
obligation to pay to Lender Funds for any or all Escrow Items at any time. Any such waiver may only be
in writing. In the event of such waiver, Borrower shall pay directly, when and where payable, the amounts
due for any Escrow Items for which payment of Funds has been waived by Lender and, if Lender requires,
shall furnish to Lender receipts evidencing such payment within such time period as Lender may require.
Borrower’s obligation to make such payments and to provide receipts shall for all purposes be deemed to
be a covenant and agreement contained in this Security Instrument, as the phrase "covenant and agreemen'"
is used in Section 9. lf Borrower is obligated to pay Escrow Items directly, pursuant to a waiver, and
Borrower fails to pay the amount due for an Bscrow Item, Lender may exercise its rights under Section 9
and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such
arnount, Lender may revoke the waiver as to any or all Escrow Items at any time by a notice given in
accordance with Section 15 and, upon such revocation, Borrower shall pay to Lender all Funds, and in
such amounts, that are then required under this Section 3.

Lender may, at any tirne, collect and hold Funds in an amount (a) sufficient to permit Lender to apply
the Funds at the time specified under RESPA, and (b) not to exceed .the maximum amount a lender can
require under RESPA. Lender shall estimate the amount of Funds due on the basis of current data and
reasonable estimates of expenditures of future Bscrow Items or otherwise in accordance with Applicable
l..aw.

The Funds shall be held in an institution whose deposits are insured by a federal agency,
instrumentality, or entity (including Lender, if Lender is an institution whose deposits are so insured) or in
any Federal Home Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time
specified under RESPA. Lender shall not charge Borrower for holding and applying the Funds, annually
analyzing the escrow account, or verifying the Escrow ltems, unless Lender pays Borrower interest on the
Funds and Applicable Law permits Lender to make such a charge. Unless an agreement is made in writing
or Applicable Law requires interest to be paid on the Funds, Lender shall not be required to pay Borrower
any interest or earnings on the Funds. Borrower and Lender can agree in writing, however, that interest

_ _l
lrlltla|$

@D-BA(FL] iooos: Pags 5 of 16 Form 3010 1101

 

 

QaSe 17-09064-RL|\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 Pg 8 Of 37

1 , `

shalll be paid on the Funds. Lender shall give to Borrower, without charge, an annual accounting of the
Funds as required by RESPA.

If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to
Borrower for the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow,
as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to
Lender the amount necessary to make up the shortage in accordance with RESPA, but in no more than 12
monthly payments If there is a deficiency of Funds held in escrow, as defined under RESPA, Lender shall
notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make
up the deficiency in accordance with RESPA, but in no more than 12 monthly payments.

Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund
to Borrower any Funds held by Lender.

4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fmes, and impositions
attributable to the Property which can attain priority over this Security Instrument, leasehold payments or
ground rents on the Property, if any, and Community Association Dues, Fees, and Assessments, if any. To
the extent that these items are Escrow Items, Borrower shall pay them in the manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this Security Instrument unless
Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable
to Lender, but only so long as Borrower is performing such agreement; (b) contests the lien in good faith
by, or defends against enforcement of the lien in, legal proceedings which in Lender’s opinion operate to
prevent the enforcement of the lien while those proceedings are pending, but only until such proceedings
are concluded; or (c) secures from the holder of the lien an agreement satisfactory to Lender subordinating
the lien to this Security Instrument. If Lender determines that any part of the Property is subject to alien
which can attain priority over this Security Instrument, Lender may give Borrower a notice identifying the
lien. Within 10 days of the date on which that notice is given, Borrower shall satisfy the lien or take one or
more of the actions set forth above' m this Section 4.

Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or
reporting service used by Lender in connection with this Loan.

5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on
the Property insured against loss by fire, hazards included within the term "extended coveragc," and any
other hazards including, but not limited to, earthquakes and floods, 'for which Lender requires insurance.
This insurance shall be maintained in the amounts (including deductible levels) and for the periods that
Lender requires. What Lender requires pursuant to the preceding sentences can change during the term of
the Loan. The insurance carrier providing the insurance Shall be chosen by Borrower subject to Lender’s
right to disapprove Borrower’s choice, which right shall not be exercised unreasonably Lender may
require Borrower to pay, in connection with this Loan, either: (a) a one-time charge for flood zone
determination, certification and tracking services; or (b) a one-time charge for flood zone determination
and certification services and subsequent charges each time remappings or similar changes occur which
reasonably might affect such determination or certification Borrower shall also be responsible for the
payment of any fees imposed by the Federal Emergency Management Agency in connection with the
review of any flood zone determination resulting from an objection by Borrower.

|nit'la

@%-BNFL] iooosi Paga 6 ol 16 Form 3010 1101

CaSe 17-09064-RL|\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 Pg 9 Of 37

-lf Borrower fails to maintain any of the coverages described above, Lender may obtain insurance
coverage, at Lender’s option and Borrower’s expense Lender is under no obligation to purchase any
particular type or amount of coverage Therefore, such coverage shall cover Lender, but might or might
not protect Borrower, Borrower’s equity in the Property, or the contents of the Property, against any risk,
hazard or liability and might provide greater or lesser coverage than was previously in effect. Borrower
acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of
insurance that Borrower could have obtained Any amounts disbursed by Lender under this Section 5 shall
become additional debt of Borrower secured by this Security Instrument. These amounts shall bear interest
at the Note rate from the date of disbursement and shall be payable, with such interest, upon notice from
Lender to Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be subject to Lender’s
right to disapprove such policies, shall include a stande mortgage clause, and shall name Lender as
mortgagee and/or as an additional loss payee. Lender shall have the right to hold the policies and renewal
certificates If Lender requires, Borrower shall promptly give to Lender all receipts of paid premiums and
renewal notices. If Borrower obtains any form of insurance coverage, not otherwise required by Lender,
for damage to, or destruction of, the Property, such policy shall include a standard mortgage clause and
shall name Lender as mortgagee and/or as an additional loss payee.

In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender
may make proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree
in writing, any insurance proceeds, whether or not the underlying insurance was required by Lender, shall
be applied to restoration or repair of the Property, if the restoration or repair is economically feasible and
Lender’s security is not lessened. During such repair and restoration period, Lender shall have the right to
hold such insurance proceeds until Lender has had an opportunity to inspect such Property to ensure the
work has been completed to Lender’s satisfaction, provided that such inspection shall be undertaken
promptly. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series
of progress payments as the work is completed Unless an agreement is made in writing or Applicable Law
requires interest to be paid on such insurance proceeds, Lender shall not be required to pay Borrower any
interest or earnings on such proceeds. Fees for public adjusters, or other third parties, retained by
Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation of Borrower. If
the restoration or repair is not economically feasible or Lender’s security would be lessened, the insurance
proceeds shall be applied to the sums secured by this Security lnstrument, whether or not then due, with
the excess, if any, paid to Borrower. Such insurance proceeds shall be applied in the order provided for in
Section 2.

If Borrower abandons the Property, Lender may iile, negotiate and settle any available insurance
claim and related matters. If Borrower does not respond within 30 days to a notice from Lender that the
insurance carrier has offered to settle a claim, then Lender may negotiate and settle the claim. The BO-day
period will begin when the notice is given. In either event, or if Lender acquires the Property under
Section 22 or otherwise, Borrower hereby assigns to Lender (a) Borrower’s rights to any insurance
proceeds in an amount not to exceed the amounts unpaid under the Note or this Security Instrument, and
(b) any other of Borrower’s rights (other than the right to any refund of unearned premiums paid by
Borrower) under all insurance policies covering the Property, insofar as such rights are applicable to the
coverage of the Property, Lender may use the insurance proceeds either to repair or restore the Property or
to pay amounts unpaid under the Note or this Security Instrument, whether or not then due.

lnitia|s:

@®-eA[FL} moon Paga v ar is Form 3010 1101

C_aSe 17-09064-RL|\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 PQ 10 Of 37

o

.

 

-6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower’s principal q
residence within 60 days after the execution of This Security Instrument and shall continue to occupy the l
Property as Borrower’s principal residence for at least one year after the date of occupancy, unless Lender
otherwise agrees in writing, which consent shall not be unreasonably withheld, or unless extenuating
circumstances exist which are beyond Borrower’s control.

7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not
destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on the
Property. Whether or not Borrower is residing in the Property, Borrower shall maintain the Property in
order to prevent the Property from deteriorating or decreasing in value due to its condition. Unless it is
determined pursuant to Section 5 that repair or restoration is not economically feasible, Borrower shall
promptly repair the Property if damaged to avoid further deterioration or damage. If insurance or
condemnation proceeds are paid in connection with damage to, or the taking of, the Property, Borrower 1
shall be responsible for repairing or restoring the Property only if Lender has released proceeds for such
purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of
progress payments as the work is completed If the insurance or condenmation proceeds are not sufficient
to repair or restore the Property, Borrower is not relieved of Borrower’s obligation for the completion of
such repair or restoration

Lender or its agent may make reasonable entries upon and inspections of the Property. If it has
reasonable cause, Lender may inspect the interior of the improvements on the Property. Lender shall give
Borrower notice at the time of or prior to such an interior inspection specifying Such reasonable cause.

8. Borrower’s Loan Application. Borrower shall be in default if, during the Loan application
process, Borrower or any persons or entities acting at the direction of Borrower or with Borrower’s
knowledge or consent gave materially false, misleading, or inaccurate information or statements to Lender
(or failed to provide Lender with material information) in connection with the Loan. Material
representations include, but are not limited to, representations concerning Borrower’s occupancy of the
Property as Borrower’s principal residence

9. Protection of Lender’s Interest in the Property and Rights Under this Security Instrument. If
(a) Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there
is a legal proceeding that might significantly affect Lender’s interest in the Property and/or rights under
this Security Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for
enforcement of a lien which may attain priority over this Security Instrument or to enforce laws or
regulations), or (c) Borrower has abandoned the Property, then Lender may do and pay for whatever is
reasonable or appropriate to protect Lender’s interest in the Property and rights under this Security
Instrument, including protecting and/or assessing the value of the Property, and securing and/or repairing
the Property, Lender’s actions can include, but are not limited to: (a) paying any sums secured by alien
which has priority over this Security Instrument; (b) appearing in court; and {c) paying reasonable
attorneys’ fees to protect its interest in the Property and/or rights under this Security Instrument, including
its secured position in a bankruptcy proceeding Securing the Property includes, but is not limited to,
entering the Property to make repairs, change locks, replace or board up doors and windows, drain water
from pipes, eliminate building or other code violations or dangerous conditions, and have utilities turned
on or off. Although Lender may take action under this Section 9, Lender does not have to do so and is not
under any duty or obligation to do so. lt is agreed that Lender incurs no liability for not taking any or all
actions authorized under this Section 9.

_ _ ’
lnitials \£/

@®-GAIFLl tunnel Page s of 16 Form 3010 1[01

 

' ‘ CQS€ 17-09064-RL|\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 PQ 11 Of 37

,Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower
secured by this Security Instrument. These amounts shall bear interest at the Note rate from the date of
disbursement and shall be payable, with such interest, upon notice from Lender to Borrower requesting

payment.
If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the

lease. If Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge unless
Lender agrees to the merger in writing.
10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan,
Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason,
the Mortgage Insurance coverage required by lender ceases to be available from the mortgage insurer that
previously provided such insurance and Borrower was required to make separately designated payments
toward the premiums for Mortgage lnsurance, Borrower shall pay the premiums required to obtain
coverage substantially equivalent to the Mortgage Insurance previously in effect, at a cost substantially
equivalent to the cost to Borrower of the Mortgage Insurance previously in effect, from an alternate
mortgage insurer selected by Lender. If substantially equivalent Mortgage Insurance coverage is not
available, Borrower shall continue to pay to Lender the amount of the separately designated payments that
were due when the insurance coverage ceased to be in effect. Lender will accept, use and retain these
payments as a non-refundable loss reserve in lieu of Mortgage Insurance. Such loss reserve shall be
non-refundable, notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall not be
required to pay Borrower any interest 01' earnings on such loss reserve. Lender can no longer require loss
reserve payments if Mortgage Insurance coverage (in the amount and for the period that Lender requires)
provided by an insurer selected by Lender again becomes available, is obtained, and Lender requires
separately designated payments toward the premiums for Mortgage Insurance. If Lender required Mortgage
Insurance as a condition of making the Loan and Borrower was required to make separately designated y
payments toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to l
maintain Mortgage Insurance in effect, or to provide a non-refundable loss reserve, until Lender’s `
requirement for Mortgage Insurance ends in accordance with any written agreement between Borrower and l
Lender providing for such termination or until termination is required by Applicable Law. Nothing in this
Section 10 affects Borrower’s obligation to pay interest at the rate provided in the Note. l
Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it
may incur if Borrower does not repay the Loan as agreed Borrower is not a party to the Mortgage
Insurance.
Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may
enter into agreements with other parties that share or modify their risk, or reduce losses. These agreements
are on terms and conditions that are satisfactory to the mortgage insurer and the other party (0r parties) to
these agreements These agreements may require the mortgage insurer to make payments using any source
of funds that the mortgage insurer may have available (which may include funds obtained from Mortgage
Insurance premiums).
As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer,
any other entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that
derive from for might be characterized as) a portion of Borrower’s payments for Mortgage Insurance, in
exchange for sharing or modifying the mortgage insurer’s risk, or reducing losses. If such agreement
provides that an affiliate of Lender takes a share of the insurer’s risk in exchange for a share of the
premiums paid to the insurer, the arrangement is often termed "captive reinsurance." Further:
(a) Any such agreements will not affect the amounts that Borrower has agreed to pay for
Mortgage Insurance, or any other terms of the Loan. Such agreements will not increase the amount
Borrower will owe for Mortgage Insurance, and they will not entitle Borrower to any refund.

ln|t|a| . '

 

Q~SA(FLI locust Png s st is Form 3010 1101

 

 

C_aSe 17-09064-RL|\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 PQ 12 Of 37

`(h) Any such agreements will not affect the rights Borrower has - if any - with respect to the
Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law. These rights
may include the right to receive certain disclosures, to request and obtain cancellation of the
Mortgage Insurance, to have the Mortgage Insurance terminated automatically, and/or to receive a
refund of any Mortgage Insurance premiums that were unearned at the time of such cancellation or
termination.

11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby
assigned to and shall be paid to Lender.

If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of
the Property, if the restoration or repair is economically feasible and Lender’s security is not lessened.
During such repair and restoration period, Lender shall have the right to hold such Miscellaneous Proceeds
until Lender has had an opportunity to inspect such Property to ensure the work has been completed to
Lender’s satisfaction, provided that such inspection shall be undertaken promptly. Lender may pay for the
repairs and restoration in a single disbursement or in a series of progress payments as the work is
completed. Unless an agreement is made in writing or Applicable Law requires interest to be paid on such
Miscellaneous Proceeds, Lender shall not be required to pay Borrower any interest or earnings on such
Miscellaneous Proceeds. lf the restoration or repair is not economically feasible or Lender’s security would
be lessened, the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument,
whether or not then due, with the excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall be
applied in the order provided for in Section 2.

In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous
Proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due, with
the excess, if any, paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market
value of the Property immediately before the partial taking, destruction, or loss in value is equal to or
greater than the amount of the sums secured by this Security Instrument immediately before the partial
taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the sums
secured by this Security Instrument shall be reduced by the amount of the Miscellaneous Proceeds
multiplied by the following fraction: (a) the total amount of the sums secured immediately before the
partial taking, destruction, or loss in value divided by (b) the fair market value of the Property
immediately before the partial taking, destruction, or loss in value. Any balance shall be aid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market
value of the Property immediately before the partial taking, destruction, or loss in value is less than the
amount of the sums secured immediately before the partial taking, destruction, or loss in value, unless
Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the sums
secured by this Security Instrument whether or not the sums are then due.

If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the
Opposing Party (as defined in the next sentence) offers to make an award to settle a claim for damages,
Borrower fails to respond to Lender within 30 days after the date the notice is given, Lender is authorized
to collect and apply the Miscellaneous Proceeds either to restoration or repair of the Property or to the
sums secured by this Security Instrument, whether or not then due, "Opposing Party" means the third party
that owes Borrower Miscellaneous Proceeds or the party against whom Borrower has a right of action in
regard to Miscellaneous Proceeds.

Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in
Lender’s judgment, could result in forfeiture of the Property or other material impairment of Lender’s
interest in the Property or rights under this Security Instrument. Borrower can cure such a default and, if
acceleration has occurred, reinstate as provided in Section 19, by causing the action or proceeding to be
dismissed with a ruling that, in Lender’s judgment, precludes forfeiture of the Property or other material
impairment of Lender’s interest in the Property or rights under this Security Instrument. The proceeds of

|nitial

@D-sAtFL} moon Paga 10 or 15 Form 3010 1101

CQS€ 17-09064-RL|\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 PQ 13 Of 37

any award or.claim for damages that are attributable to the impairment of Lender’s interest in the Property
are hereby assigned and shall be paid to Lender.

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be
applied in the order provided for in Section 2.

12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for
payment or modification of amortization of the sums secured by this Security Instrument granted by Lender
to Borrower or any Successor in Interest of Borrower shall not operate to release the liability of Borrower
or any Successors in Interest of Borrower. Lender shall not be required to commence proceedings against
any Successor in Interest of Borrower or to refuse to extend time for payment or otherwise modify
amortization of the sums secured by this Security Instrument by reason of any demand made by the original
Borrower or any Successors in Interest of Borrower. Any forbearance by Lender in exercising any right or
remedy including, without limitation, Lender’s acceptance of payments from third persons, entities or
Successors in Interest of Borrower or in amounts less than the amount then due, shall not be a waiver of or
preclude the exercise of any right or remedy.

13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants
and agrees that Borrower’s obligations and liability shall be joint and several. However, any Borrower who
co~signs this Security Instrument but does not execute the Note (a "co-signer"): (a) is co-signing this
Security Instrument only to mortgage, grant and convey the co-signer’s interest in the Property under the
terms of this Security Instrument; (b) is not personally obligated to pay the sums secured by this Security
Instrument; and (c) agrees that Lender and any other Borrower can agree to extend, modify, forbear or
make any accommodations with regard to the terms of this Security Instrument or the Note without the
co-signer’s consent.

Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes
Borrower’s obligations under this Security Instrument in writing, and is approved by Lender, shall obtain
all of Borrower’s rights and benefits under this Security Instrument. Borrower shall not be released from
Borrower’s obligations and liability under this Security Instrument unless Lender agrees to such release in
writing. The covenants and agreements of this Security Instrument shall bind (except as provided in
Section 20) and benefit the successors and assigns of Lender.

14. Loan Charges. Lender may charge Borrower fees for services performed in connection with
Borrower’s default, for the purpose of protecting Lender’s interest in the Property and rights under this
Security Instrument, including, but not limited to, attorneys’ fees, property inspection and valuation fees.
In regard to any other fees, the absence of express authority in this Security Instrument to charge a specific
fee to Borrower shall not be construed as a prohibition on the charging of such fee. Lender may not charge
fees that are expressly prohibited by this Security Instrument or by Applicable Law.

If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so
that the interest or other loan charges collected or to be collected in connection with the Loan exceed the
permitted limits, then: (a) any such loan charge shall be reduced by the amount necessary to reduce the
charge to the permitted limit; and (b) any sums already collected from Borrower which exceeded permitted
limits will be refunded to Borrower. Lender may choose to make this refund by reducing the principal
owed under the Note or by making a direct payment to Borrower. If a refund reduces principal, the
reduction will be treated as a partial prepayment without any prepayment charge (whether or not a
prepayment charge is provided for under the Note). Borrower’s acceptance of any such refund made by
direct payment to Borrower will constitute a waiver of any right of action Borrower might have arising out
of such overcharge.

15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument
must be in writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to
have been given to Borrower when mailed by first class mail or when actually delivered to Borrower’s
notice address if sent by other means. Notice to anv one Borrower shall constitute notice to all Borrowers

ll‘|itidl$.
Q>-sAtFL: moon ma 11 of 1a Form 3010 1;01

 

 

C`aSe 17-09064-RL|\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 PQ 14 Of 37

» ' v

,

unless Applicable Law expressly requires otherwise. The notice address shall be the Property Address
unless Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly
notify Lender of Borrower’s change of address. If` Lender specifies a procedure for reporting Borrower’s
change of address, then Borrower shall only report a change of address through that specified procedure.
There may be only one designated notice address under this Security Instrument at any one time. Any
notice to Lender shall be given by delivering it or by mailing it by first class mail to Lender’s address
stated herein unless Lender has designated another address by notice to Borrower. Any notice in
connection with this Security Instrument shall not be deemed to have been given to Lender until actually
received by Lender. It` any notice required by this Security Instrument is also required under Applicable
Law, the Applicable Law requirement will satisfy the corresponding requirement under this Security
Instrument.

16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be
governed by federal law and the law of the jurisdiction in which the Property is located. All rights and
obligations contained in this Security Instrument are subject to any requirements and limitations of
Applicable Law. Applicable Law might explicitly or implicitly allow the parties to agree by contract or it
might be silent, but such silence shall not be construed as a prohibition against agreement by contract. In
the event that any provision or clause of this Security Instrument or the Note conflicts with Applicable
Law, such conflict shall not affect other provisions of this Security Instrument or the Note which can be

given effect without the conflicting provision. _ .
As used in this Security lnstrument: (a) words of the mascuhne gender shall mean and include

corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and
include the plural and vice versa; and (c) the word "may" gives sole discretion without any obligation to
take any action.

17 . Borrower’s Copy. Borrower shall be given one copy of the Note and of this Security Instrument.

18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18,
"Interest in the Property" means any legal or beneficial interest in the Property, including, but not limited
to, those beneficial interests transferred in a bond for deed, contract for deed, installment sales contract or
escrow agreement, the intent of which is the transfer of title by Borrower at a future date to a purchaser.

If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower
is not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender’s prior
written consent, Lender may require immediate payment in full ot` all sums secured by this Security
Instrument. However, this option shall not be exercised by Lender if such exercise is prohibited by
Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration The notice shall
provide a period of not less than 30 days from the date the notice is given in accordance with Section 15
within which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay
these sums prior to the expiration of this period, Lender may invoke any remedies permitted by this
Security Instrument without further notice or demand on Borrower.

19. Borrower’s Right to Reinstate After Acceleration. lf Borrower meets certain conditions,
Borrower shall have the right to have enforcement of this Security Instrument discontinued at any time
prior to the earliest of: (a) five days before sale of the Property pursuant to any power of sale contained in
this Security Instrument; (b) such other period as Applicable Law might specify for the termination of
Borrower’s right to reinstate; or (c) entry of a judgment enforcing this Security Instrument. Those
conditions are that Borrower: (a) pays Lender all sums which then would be due under this Security
Instrument and the Note as if no acceleration had occurred; (b) cures any default of any other covenants or
agreements; (c) pays all expenses incurred in enforcing this Security Instrument, including, but not limited
to, reasonable attorneys’ fees, property inspection and valuation fees, and other fees incurred for the

_| _ mm

@D-BA(FL] tooosi Page 12 af 1a Form 3010 'I/D‘l

  
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
   
  

 

CQS€ 17-09064-RL|\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 PQ 15 Of 37

»

purpose of protecting Lender’s interest in the Property and rights under this Security lnstrument; and (d)
takes such action as Lender may reasonably require to assure that Lender’s interest in the Property and
rights under this Security Instrument, and Borrower’s obligation to pay the sums secured by this Security
Instrument, shall continue unchanged. Lender may require that Borrower pay such reinstatement sums and
expenses in one or more of the following forms, as selected by Lender: (a) cash; (b) money order; (c)
certified check, bank check, treasurer’s check or cashier’s check, provided any such check is drawn upon
an institution whose deposits are insured by a federal agency, instrumentality or entity; or (d) Electronic
Funds Transfer. Upon reinstatement by Borrower, this Security Instrument and obligations secured hereby
shall remain fully effective as if no acceleration had occurred. However, this right to reinstate shall not
apply in the case of acceleration under Section 18,

20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in
the Note (together with this Security Instrument) can be sold one or more times without prior notice to l
Borrower. A sale might result in a change in the entity (k:nown as the "Loan Servicer") that collects l
Periodic Payments due under the Note and this Security Instrument and performs other mortgage loan
servicing obligations under the Note, this Security Instrument, and Applicable Law. There also might be
one or more changes of the Loan Servicer unrelated to a sale of the Note. If there is a change of the Loan
Servicer, Borrower will be given written notice of the change which will state the name and address of the
new Loan Servicer, the address to which payments should be made and any other information RESPA
requires in connection with a notice of transfer of servicing. If the Note is sold and thereafter the Loan is
serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing obligations
to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not
assumed by the Note purchaser unless otherwise provided by the Note purchaser.

Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an
individual litigant or the member of a class) that arises from the other party’s actions pursuant to this
Security Instrument or that alleges that the other party has breached any provision of, or any duty owed by l
reason of, this Security Instrument, until such Borrower or Lender has notified the other party (with such t
notice given in compliance with the requirements of Section 15) of such alleged breach and afforded the `
other party hereto a reasonable period after the giving of such notice to take corrective action. If l
Applicable Law provides a time period which must elapse before certain action can be taken, that time l
period will be deemed to be reasonable for purposes of this paragraph The notice of acceleration and t
opportunity to cure given to Borrower pursuant to Section 22 and the notice of acceleration given to
Borrower pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take corrective `
action provisions of this Section 20. l

21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are those l
substances defined as toxic or hazardous substances, pollutants, or wastes by anironmental Law and the l
following substances: gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides `
and herbicides, volatile solvents, materials containing asbestos or fonnaldehyde, and radioactive materials; l
(b) "Environmental Law" means federal laws and laws of the jurisdiction where the Property is located that l
relate to health, safety or environmental protection; (c) "Environmental Cleanup" includes any response l
action, remedial action, or removal action, as defined in Environmental Law; and (d) an "Environmental
Condition" means a condition that can cause, contribute to, or otherwise trigger an Environ.mental l
Cleanup. 1

ln|t|al ‘

QD-eA(FL) locust Page 13 or 1a “ Form 3010 1!01

 

 

C_aSe 17-09064-RL|\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 PQ 16 Of 37

.Borrow.er shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous
Substances, or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do,
nor allow anyone else to do, anything affecting the Property (a) that is in violation of any Environrnental
Law, (b) which creates an Environrnental Condition1 or (c) which, due to the presence, use, or release of a
l-Iazardous Substance, creates a condition that adversely affects the value of the Property. The preceding
two sentences shall not apply to the presence, use, or storage on the Property of small quantities of
Ha.zardous Substances that are generally recognized to be appropriate to normal residential uses and to
maintenance of the Property (including, but not limited to, hazardous substances in consumer products).

Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit
or other action by any governmental or regulatory agency or private party involving the Property and any
Hazardous Substance or Environmental Law of which Borrower has actual knowledge, (b) any
Environmental Condition, including but not limited to, any spilling, leaking, discharge, release or threat of
release of any I-lazardous Substance, and (c) any condition caused by the presence, use or release of a
Hazardous Substance which adversely affects the value of the Property. If Borrower learns, or is notified
by any governmental or regulatory authority, or any private party, that any removal or other remediation
of any Hazardous Substance affecting the Property is necessary, Borrower shall promptly take all necessary
remedial actions in accordance with Environmental Law. Nothing herein shall create any obligation on
Lender for an Environmental Cleanup.

NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following
Borrower’s breach of any covenant or agreement in this Security Instrument (but not prior to
acceleration under Section 18 unless Applicable Law provides otherwise). The notice shall specify:
(a) the default; (b) the action required to cure the default; (c) a date, not less than 30 days from the
date the notice is given to Borrower, by which the default must be cured; and (d) that failure to cure
the default on or before the date specified in the notice may result in acceleration of the sums secured
by this Security Instrument, foreclosure by judicial proceeding and sale of the Property. The notice
shall further inform Borrower of the right to reinstate after acceleration and the right to assert in the
foreclosure proceeding the non-existence of a default or any other defense of` Borrower to acceleration
and foreclosure. If the default is not cured on or before the date specified in the notice, Lender at its
option may require immediate payment in full of all sums secured by this Security Instrument
without further demand and may foreclose this Security Instrument by judicial proceeding. Lender
shall be entitled to collect all expenses incurred in pursuing the remedies provided in this Section 22,
including, but not limited to, reasonable attorneys’ fees and costs of title evidence.

23. Release. Upon payment of all sums secured by this Security Instrument, Lender shall release this
Security Instrument. Borrower shall pay any recordation costs. Lender may charge Borrower a fee for
releasing this Security Instrument, but only if the fee is paid to a third party for services rendered and the
charging of the fee is permitted under Applicable Law.

24. Attorneys’ Fees. As used in this Security Instrument and the Note, attorneys’ fees shall include
those awarded by an appellate court and any attorneys’ fees incurred in a bankruptcy proceeding.

25. Jury Trial Waiver. The Borrower hereby waives any right to a trial by jury in any action,
proceeding, claim, or counterclaim, whether in contract or tort, at law or in equity, arising out of or in any
way related to this Security Instrument or the Note.

_ _ ma

@D-SNFL) tooosi Page 111-of 16 Form 3010 1{01

 

 

 

 

QaSe 17-09064-RL|\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 PQ 17 Of 37

\

. BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this i
Security Instrument and in any Rider executed by Borrower and recorded with it.

`\_ Signed, sealed and delivered in the presence of:
`)il ii(\tl.(h(,:_®%.\‘~\°~`\<--- , G/ M{`(i\_', (sen)

areeda T> 'Be=tyf ~w\+o`@‘>v A ts M. LANowERLEN -Bmowa

  

4696 WATERS EDGE WAY, GREENIA|ODD, lN

WM 461/43 address

 

 

 

 

 

 

 

 

(<i&i‘.~mv~i> §§\t=lsoi_t,\.a -~c~_» "\'NQ"~€» (S€al)
'Borrower

(Address)

(Seal) (Seal)
-Borrower -Borrower
(Address) (Address)
(Seal) (seat)
-Borrower -Borrower
(Address) (Address)
(sea) (Seal)
-Borrower -Borrower
(Address) (Address)

@D-eAiFL) loose sage 15 of 16 Form 3010 1101

    
     
   
   
    
    

C_aSe 17-09064-RL|\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 PQ 18 Of 37

" s

_Trc\\§“lsa i\\ th _d
sTA.TE oraeeem edmer fn County ss=
The foregoing instrument was acknowledged before me this garth chef 0 ]C ,]"L{ n 6 'Z,UO< by
lanes M. LANothLEN ’

who is personally known to me or who has produced ij y \ \, 2 ~r 5 L‘l ( '€ V\ 5 €-/ as identification

     
    

`

AMAND.A D. assess
Manon Coumy

Mv Commlssion Ex l
I'GS
Ausust i. aciap

Notary Public

 

_ |_l ,
lnitl'als'.
Form 3010 1{01

@~GAcFLt moon
®

Page160f16

 

 

 

  

   

*'\ l

CaSe 17-09064-RL|\/|-‘32 Filed 01/25/18 EOD 01‘8 231:50 PQ 19 Of 37

AFFIDAVIT OF COMMON IDEN'I‘ITY

l£ndm$ FIRST NATIONAL BANK OF ARIZONA

Loan Number: _

STATBOF FLoatoA
COUNTYOF PALM seats

Before me, the undersigned authority, personally appeared J A M t 5 M . LA N o w t R L E N
who after being duly sworn deposes and says that (s)he is one and the same person as:

JAMES LANDNERLEN
JAMES M. LANDWERLEN

and that (s)he makes this statement with the expressed purpose of inducing the
above-named lender to accept a mortgage on the following described property:

SEE LEGAL DESCRIPTIUN ATTACHED HERETO AND MADE A PARTOF:

(Legal Description Above)

Further affi M no
</“',~A(';`__~J CV../Z\-~"""/ C/}L"/(_,,/

 

. LANDWERLEN Date
State of @mg‘\ \C,»ci\©._ County of YSC_;\\ \ i‘d §C`_\l"`l
On the rr?)i_"l day of gun Q_ ,QOCJ;:) , before me, the

undersigned, a Notary Public for said state, personally appeared
':CL. tY\QC.> \W'\ L,CJ~.'~`;C& k__,-"_`)Q_‘T'\ QJ.`\
known to me, (or proved to me on the basis of satisfactory evidence) to be the person(s)

whose name(s) subscribed to the foregoing instrument and acknowledged that
executed the same.

WITNESS my hand and official seal. ®\ k "`\(: c bk Q(xL-L/~»… ,-_..\

Notary Public

    
   

Affidavit of Conunon Identity - ALL 4/1999

   

C,HS€ 17-09064-RL|\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 PQ 20 Of 37

l

LEGAL mrs'ciuPTIoN

Condominiurn Parcel No. 308, MONTBREY HOUSE CONDOMINIUM, a Condominium,
according to the Declaration of Condominium thereof, as recorded in Official Records Bool<
1839, Page 1470 of the Public Records of Palm Beach County, Florida.

CaS€ 17-09064-RLi\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 PQ 21 Of 37

»
l

\

ADJUSTABLE RATE RiDER
(liilTA~Twe|ve iiilonth Average index - Payment Caps)

THls AoJusrAsie RATE sloan is made this _ 3 Oth day or 06 / 2 0 05 ,and
is incorporated into and shall be deemed to amend and supplement the Mortgage. Deed of Trust. or Security Deed
(the "Security |nstrument") cf the same date given by the undersigned ("Borrower") to secure Borrower’s
Adjustab|e Rate Note (the "Note") to ("l_ender") of the same date and covering the property described in the
Security instrument and located at:

3 1 14 SOUTH OCEAN BOULEVARD#B 0 8 , HIGHLAND BEACH , FL 3 34 8 '7

[Property Address]
THiS NOTE CONTA|NS PROVlS|ONS THAT W|LL CHANGE THE |NTEREST RATE AND
THE MONTHLY PAYMENT. THERE NlAY BE A LlNllT ON THE Al'i.ilOUNT THAT THE
MONTHLY PAYN|ENT CAN |NCREASE OR DECREASE. THE PR|NC|PAL AMOUNT
TO REPAY COULD BE GREATER THAN THE AMOUNT ORIG|NALLY BORROWED,
BUT NOT N|ORE THAN THE NIAXIMUNI L|NllT STATED|N THE NOTE.

ADD|T|ONAL COVENANTS: in addition to the covenants and agreements made in the Security
instrument Borrower and Lender further covenant and agrees as follows:

A. |NTEREST RATE AND MONTHLY PAYil.i'iENT CHANGES
The Note provides for changes in the interest rate and the monthly payments, as follows:

2. |NTEREST

(A) interest Rate

interest Wiii be charged on unpaid Principai until the full amount of Principai has been paid l Wi|| pay
interest at a yearly rate of l - 7 5 0 0 %. The interest rate | Wiii pay may change

The interest rate required by this Section 2 is the rate i vviii pay both before and after any default described
in Section 7(|3) of the Note.

(B) interest Rate Change Dates
The interest rate | Wi|| pay may change on the lSl; day of 10 / 2 0 05 ,and on that

day every month thereafter Each date on Which my interest rate could change is called an “|nterest Rate Change
Date." The new rate of interest will become effective on each interest Rate Change Date. The interest rate may
change monthiy, but the monthly payment is recalculated in accordance with Section 3.

(C) index
Beginning With the first interest Rate Change Datel my adjustable interest tate Wii| be based on an index. The
"index" is the "TWeive-ii.iionth Average" of the annual yields on actively traded United States Treasury Securities
adjusted to a constant maturity of one year as published by the Federai Reserve Bcard in the Federa|

PayOption iV[TA ARNi Rider
FE-5315 (0412) Page 1 ore io/o4

 

CaS€ 17-09064-RLi\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 PQ 22 Oi 37

r

Reserve Statistica| Reiease entitled "Seiected interest Rates (H.15)" (the "Nionthiy Yieids"). The Twe|ve i\ilonth
Average is determined by adding together the ivionthly Yieids for the most recently available twelve months and
dividing by 12. The most recent index figure available as of the date 15 days before each interest Rate Change Date
is called the "Current index".

if the index is no longer availabie, the Note Ho|der will choose a new index that is based upon comparable
information The Note Ho|der will give me notice of this choicel

(D} Calcuiation of interest Rate Changes

Befcre each interest Rate Change Datel the Note Hcider will calculate my new interest rate by adding
Thl`@@ and 3/ 20 percentage point(s) 3 - 1500 % ("Niargin“) to the Current |ndex. The
Note i-loider will then round the result of this addition to the nearest one-eighth of one percentage point
(0.125%). This rounded amount Will be my new interest rate until the next interest Rate Change Date. lilly
interest will never be greater than 9 - 95 %. Beginning with the nrst interest Rate Change Date, my interest rate
will never be lower than the iViargin.

3. PAYNiENTS

(A) Time and Place of Payments

| will make a payment every month.

l Will make my monthly payments on the let day afeach month beginning 011
AU.ngSi; 2005 . | will make these payments every month until l have paid ali the Principal and interest
and any other charges described below that l may owe under this Note. Each monthly payment Will be applied as of its
scheduled due date and will be applied to interest before Principai. if, on JU.ly' l , 2 035 , i still owe
amounts under this Notel i Wiii pay those amounts in full on that date, Which is called the “iViaturity Date."

lwiiimakemymonth|ypaymentsat P.O. BOX 62768 PHOENIX, AZ 85082-2768

or at a different place if required by the Note l-ioider.

(B) Amount of lilly initial iliionthiy Payments
Each of my initial monthly payments until the first Payment Change Daie will be in the amount of U.S.
$ 1 , 0 8 6 . 02 unless adjusted under Section 3 (F).

(C) Payment Change Dates

lilly monthly payment may change as required by Section 3(D) below beginning on the 1575 day
of 08 / 2 0 0 6 , and on that day every 12th month thereafterl Each of these dates is called a "Payment
Change Date." i\iiy monthly payment also Wl|i change at any time Section 3(F) or 3(G) below requires me to pay a
different monthly payment. The "i\iiinimum Payment" is the minimum amount Note Ho|der will accept for my
monthly payment which is determined at the last Payment Change Date or as provided in Section 3(F) or 3(G)
beiow. if the iviinimum Payment is not sufficient to cover the amount of the interest due then negative
amortization will occur.

i Will pay the amount of my new iiiiinimum Payment each month beginning on each Payment Change Date or as

provided in Section 3(F) or 3(G) beiow.

PayOption i'i.i'iTA ARivi Rider

FE_5315 (0412) Page 2 of 5 ‘l 0104

1

QaSe 17-09064-RL|\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 PQ 23 Of 37

t
f

(D) Caicuiation of iiiionth|y Payment Changes

~ At least 30 days before each Payment Change Date. the Note Ho|der will calculate the amount of the
monthly payment that would be sufficient to repay the unpaid Principai that i am expected to owe at the Payment
Change Date in full on the maturity date in substantially equal payments at the interest rate effective during the
month preceding the Payment Change Date. The result of this calculation is called the "Fuii Payment." Unless
Section 3(F) or S(G) appiy, the amount of my new monthly payment effective on a Payment Change Date, will not
increase by more than 7.5% of my prior monthly payment. This 7.5% limitation is called the "Payment Cap." This
Payment Cap applies only to the Principai and interest payment and does not apply to any escrow payments Lender
may require under the Security instrument The Note Ho|der will apply the Payment Cap by taking the amount of
my illiinimum Payment due the month preceding the Payment Change Date and multiplying it by the number 1.075.
The result of this calculation is called the "Limited Payment." Unless Section 3(F) or 3(G) below requires me to pay a
different arnount, my new illiinimum Payment will be the lesser of the Limited Payment and the Fuii Payment. l also
have the option to pay the Fuii Payment for my monthly payment.

(E) Additions to lilly Unpaid Principal

Since my monthly payment amount changes less frequently than the interest rate, and since the monthly
payment is subject to the payment limitations described in Section 3 (lIi)l my Minimum Payment could be less than
or greater than the amount of the interest portion of the monthly payment that would be sufficient to repay the unpaid
Principal | owe at the monthly payment date in full on the Nlaturlty Date in substantially equal paymentsl For
each month that my monthly payment is less than the interest portion, the Note Ho|der will subtract the amount of
my monthly payment from the amount of the interest portion and will add the difference to my unpaid i=’rincipall and
interest will accrue on the amount of this difference at the interest rate required by Section 2. For each month that
the monthly payment is greater than the interest portion, the Note Ho|der will apply the payment as provided in
Section 3 (A).

(F) Limit on lilly Unpaid Principa|; Increaseci Nionthly Payment

iViy unpaid Principa| can never exceed the Niaximum Limit equal to 115 . 00 Percent of the Principai
amount i originally borrowed. iVly unpaid Principal could exceed that lViaximum Limit due to i\liinimum
Payments and interest rate increasesl in that eventl on the date that my paying my monthly payment
would cause me to exceed that iimit, i will instead pay a new monthly payment. This means that my
monthly payment may change more frequently than annually and such payment changes Will not be limited
by the 7.5% Payment Cap. The new i\iiinimum Payment Will be in an amount that would be suinclent to
repay my then unpaid Principa| in full on the lillaturity Date in substantially equal payments at the current

(G) Required Fuii Payment

On the fifth Payment Change Date and on each succeeding fifth Payment Change Date thereafter, l will
begin paying the Fuii Payment as my ililinimum Payment until my monthly payment changes again. l also will begin
paying the Fuii Payment as my il/ilnlmum Payment on the final Payment Change Date.

(H) Payment Options

After the first interest Rate Change Date, Lender may provide me with up to three (3) additional payment
options that are greater than the Nlinimum Payment, which are called "Payment Options." l may be given the
following Payment Options:

PayOpiion MTA ARN| Rider Page 3 of 5 10,'04
FE-5315 (0412)

_CaSe 17-09064-RLl\/l-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 PQ 24 Oi 37

.r

 

(i) interest Only Payment: the amount that would pay the interest portion of the monthly payment
lat the current interest rate. The Principa| balance Will not be decreased by this Payment Option and it is
only available if the interest portion exceeds the iiliinimum Paymentl

{ii) Fu|ly Amortized Payment: the amount necessary to pay the loan off (Principal and interest) at
the Maturity Date in substantially equal payments

(iii) 15 Year Amortized Payment: the amount necessary to pay the loan off (Principai and interest)
within a fifteen (15) year term from the first payment due date in substantially equal
payments This monthly payment amount is calculated on the assumption that the current rate
will remain in effect forthe remaining term.

These Payment Options are only applicable if they are greater than the l\ilinimum Payment

B. TRANSFER OF THE PROPERTY OR A BENEF[C|AL lNTEREST lN BORROWER

Section 18 of the Security instrument entitled "Transfer of the Property or a Beneficiai interest in Borrower"
is amended to read as follows:

Transfer of the Property or a Beneficial interest in Borrower. As used in this Section
18, "|nterest in the Property" means any legal or benenciai interest in the Property, includingl but not
limited to, those benencia| interests transferred in a bond for deed, contract for deed, installment
sales contract or escrow agreementl the intent of which is the transfer of title by Borrower at a
future date to a purchaser. .

if all or any part of the Property or any interest in the Property is sold or transferred (or if
Borrower is not a natural person and a beneficial interest iri Borrower is sold or transferred) without
Lender's prior written consent Lender may require immediate payment in full of all sums secured
by this Security instrument However, this option shall not be exercised by Lender if such exercise is
prohibited by Appiicable Law. Lender also shall not exercise this option if:
(a) Borrower causes to be submitted to Lender information required by Lender to evaluate the
intended transferee as if a new loan were being made to the transferee; and (b) Lender
reasonably determines that Lender's security will not be impaired by the loan assumption and that
the risk cfa breach of any covenant or agreement in this Security instrument is acceptable to Lender.

To the extent permitted by Appiicabie Lawl Lender may charge a reasonable fee as a
condition to Lender's consent to the loan assumption Lender may also require the transferee to sign an
assumption agreement that is acceptable to Lender and that obligates the transferee to keep all the
promises and agreements made in the Note and in this Security instrument Borrower Will
continue to be obligated under the Note and this Security instrument unless Lender releases
Borrower in writing.

if Lender exercises the option to require immediate payment in fuii, Lender shall give
Borrower notice of acceleration. The notice shall provide a period of riot less than 30 days from the
date the notice is given in accordance with Section ‘l5 within which Borrower must pay all sums
secured by this Security instrument if Borrower fails to pay these sums prior to the expiration of
this periodl Lender may invoke any remedies permitted by this Security instrument without further
notice or demand on Borrower.

Payoption iviTA ARivi Rider Page 4 of 5 10/04
FE-ssts (o412)

CaSe 17-09064-RLl\/l-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 PQ 25 Oi 37

l

mccepts and agrees to the terms and covenants contained in this

C`c @ ,_.-_» ts@ai)

J as M. Lz-§l“\r'DWERLEN

BY SlGNiNG BELO

   
  

 

 

 

(Seai)
(Seal) l
(Seai)

PayOption MTA ARM Rider Page 5 of5 10;04

FE-5315 (04'12)

 

QaSe 17-09064-RLl\/l-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 PQ 26 Oi 37

 

SECOND HOME RIDER

THls second nolle l=ill:)El=i is made this 30TH day or JUNE 2005 ,
and is incorporated into and shall be deemed to amend and supplement the i\/iortgage, Deed
of Trust, or Security Deed lthe "Security instrument"l of the same date given by the
undersigned lthe "Borrovver" whether there are one or more persons undersignedl to secure

Borrower’s Note to FIRST NATIONAL BANK OF ARIZONA

lthe "Lender"} of the same date and covering the Property described in the Security
instrument ithe "Property"l, which is located at:

3114 SOUTi-| OCEAN BOULEVARD#SOB,HIGHLAND BEACH,FL 33487
[Property Address]

|n addition to the covenants and agreements made in the Security lnstrument, Borrower
and Lender further covenant and agree that Sections 6 and 8 of the Security instrument are
deleted and are replaced by the following:

6. Occupancy. Borrower shall occupy, and shall only use, the Property as
Borrower’s second home. Borrower shall keep the Property available for Borrower’s
exclusive use and enjoyment at all times, and shall not subject the Property to any
timesharing or other shared ownership arrangement or to any rental pool or
agreement that requires Borrower either to rent the Property or give a management
firm or any other person any control over the occupancy or use of the Property.

8. Borrower’s Loan Appiication. Borrower shall be in default if, during the Loan
application process, Borrower or any persons or entities acting at the direction of
Borrower or with Borrower’s knowledge or consent gave materially false, misleading,
or inaccurate information or statements to Lender (or failed to provide Lender with
material information) in connection With the Loan. iviateriai representations include,
but are not limited to, representations concerning Borrower’s occupancy of the
Property as Borrower’s second home.

livsTnullelvT
Form esso 1101 Page 1 or 2 initials “"W‘"°°

lVlULT|STATE SECOND HOllliE FilDER - Singie Family ~ Fannie Niae/Freddie ge UNIFOHIVI
QE~SBBR (0411) ViVlP Mortgage Solutions, inc. t800)52'l-7291

 

 

 

 

CaSe 17-09064-RL|\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 PQ 27 Of 37

~BY SIGN|NG BELOW, Borrower accepts and agrees to the terms and covenants contained

is 3 ond l-lo

   
 

6" _/\/\(,

 

J ME M. |_ANDWER|_EN

 

 

 

 

 

 

 

@§>-365|? (0411)

,___)

¢»‘-/~/Q\--""' iSeall iSeali
-Borrower -Borrower

(Seall iSea|)

-Borrower y -Borrower

iSea|) (Sea|}

-Borrower -Borrower

(Sea|l . iSea|)

-Borrower -Borrovver

Page 2 of 2 Form 3890 1/01

   

v i,i

. '. CaS€ 17-09064-RL|\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 PQ 28 Of 37

l)

CONDOMINIUM RIDER

THis coNDoi\/iii\iiuivi nioEnis madeihis 30TH day ot JUNIZ, 2005 .
and is incorporated into and shall be deemed to amend and supplement the Mortgage, Deed
cf Trust, or Security Deed ithe "Security |nstrument") of the same date given by the
undersigned ithe "Borrower"l to secure Borrower’s Note to
FIRST NATIONAL BANK OF ARIZONA

{the
"Lender"l of the same date and covering the Property described in the Security instrument
and located at:

3114 SOUT|-i OCEAN BOULEVARD#3U8,HIGHLAND BEACH,FL 33487

[Property Address]
The Property includes a unit in, together with an undivided interest in the common elements

of, a condominium project krhib$}N`IEEEFSEY HUUSE CONDOMINIUM

[Name of Condominium Project]
ithe "Condominium Project"). |f the owners association or other entity which acts for the
Condominium Project (the "Owners Association") holds title to property for the benefit or use
of its members or shareholders, the Property also includes Borrower’s interest in the Owners-
Association and the uses, proceeds and benefits of Borrower’s interest.

CONDO|V|IN|UW| COVENANTS. ln addition to the covenants and agreements made in the
Security lnstrument, Borrower and Lender further covenant and agree as follows:

A. Condominium Obligations. Borrower shall perform all of Borrower’s obligations under
the Condominium Project's Constituent Documents. The "Constituent Documents" are the: iii
Declaration or any other document which creates the Condominium Project; (ii) by-|aws; (iii)
code of regulations; and liv) other equivalent documents. Borrower shall promptly pay, when
due, all dues and assessments imposed pursuant to the Constituent Dccuments.

B. Property Insurance. 30 long as the Owners Association maintains, with a generally
accepted insurance carrier, a "rnaster" or "blanket" policy on the Condominium Project which
is satisfactory to Lender and which provides insurance coverage in the amounts (inc|uding
deductible leve|s), for the periods, and against loss by fire, hazards included within the term
"extended coverage," and any other hazards, including, but not limited to, earthquakes and
floods, from which Lender requires insurance, then: iii Lender waives the provision in

MW 08/00

NIULT|STATE CONDON||N|UWI RIDER - Single Fami[y ~ Fannie Wlae/Freddie Nlac UN|FORNI
INSTRUMENT

QB-sn i0411i Form 3 0 1/01
Page 'l of 3 initials
VlVlP l\/iortgage Solutions, inc

(800)52‘|-729']

 

 

t . CaS€ 17-09064-RL|\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 PQ 29 Of 37

b

Section 3 f-or the Periodic Payment to Lender of the yearly premium installments for property
insurance on the Property; and iii} Borrower’s obligation under Section 5 to maintain property
insurance coverage on the Property is deemed satisfied to the extent that the required
coverage is provided by the 0wners Association policy.

What Lender requires as a condition of this waiver can change during the term of the
loan.

Borrower shall give Lender prompt notice of any lapse in required property insurance
coverage provided by the master or blanket policy.

in the event of a distribution of property insurance proceeds in lieu of restoration or
repair following a loss to the Property, whether to the unit or to common elements, any
proceeds payable to Borrower are hereby assigned and shall be paid to Lender for application
to the sums secured by the Security instrument whether or not then due, with the excess, if
any, paid to Borrower.

C. Public Liabiiity insurance. Borrower shall take such actions as may be reasonable to
insure that the 0wners Association maintains a public liability insurance policy acceptable in
form, amount, and extent ot coverage to Lender.

D. Condemnation. The proceeds of any award or claim for damages, direct or
consequential, payable to Borrower in connection with any condemnation or other taking of all
or any part of the Property, whether of the unit or of the common elements, or for any
conveyance in lieu ct condemnation, are hereby assigned and shall be paid to Lender. Such
proceeds shall be applied by Lender to the sums secured by the Security instrument as
provided in Section 11.

E. Lender's Prior Consent. Borrower shall not, except after notice to Lender and with
Lender's prior written consent, either partition or subdivide the Property or consent to: li) the
abandonment or termination of the Condominium Project, except for abandonment or
termination required by law in the case of substantial destruction by fire or other casualty or
in the case of a taking by condemnation or eminent domain; (ii) any amendment to any
provision of the Constituent Documents if the provision is for the express benefit of Lender;
iiii) termination ct professional management and assumption of self-management of the
Owners Association; or (ivl any action which would have the effect of rendering the public
liability insurance coverage maintained by the Owners Association unacceptable to Lender.

F. Remedies. if Borrower does not pay condominium dues and assessments when due,
then Lender may pay them. Any amounts disbursed by Lender under this paragraph F shall
become additional debt of Borrower secured by the Security |nstrument. Unless Borrower and
Lender agree to other terms of paymentl these amounts shall bear interest from the date of
disbursement at the Note rate and shall be payab|e, with interest, upon notice from Lender to

Bnrmvver rem,lestlng payment. _

lnitials.
Q;D-sn io4t ii Page 2 or 3 Form 3140 1101

 

l

in this Co dominium Rider.

yet C:ZJ/"'Tsea|l

  

 

~BY SlC~`iN|NG BELOVV, Borrower accepts and agrees to the terms and covenants contained

 

  

 

 

 

 

 

 

Q§,~SR i0411) Page s or s

 

‘ _ z, lSea|l
MES M. |_ANDWERL EN -Borrower -Borrower
(Seail iSea|i

-Bcrrower -Borrower

(Sea|) iSea|i

-Borrower -Borrower

(Sea|i iSea|)

-Borrower -Borrower

Form 3140 1101

 

CaSe 17-09064-RL|\/|-7 DOC 22 Filed 01/25/18 EOD 01/25/18 12231:50 PQ 31 Of 37

Recording Requested By:
NATlONSTAR MORTGAGE DBA NiR. COOPER

When Recorded Return To:

DOCUMENT ADN||N|STRAT|ON

NATlONSTAR MORTGAGE DBA MR. COOPER
8950 CYPRESS WATERS BLVD

COPPELL, TX 75019

 

CORPORATE ASS|GNMENT OF MORTGAGE

Paim Beach, Florida

sEi_LER's sERviciNG #-"LANDWERLEN" ,

MiN #: _|sis #: 1-888-679-6377

Date of Assignment: January 121h, 2018

Assignor: MORTGAGE ELECTRON|C REGlSTRAT|ON SYSTEMS. iNC.. AS NOM|NEE FOR F|RST NATlONAL
BANK OF ARlZONA, lTS SUCCESSORS AND ASSiGNS at P.O. BOX 2026, FL|NTl M| 48501-2026

Assignee: U.S. BANK NATlONAL ASSOC|AT|ON, AS TRUSTEE FOR HARBORV|EW MORTGAGE LOAN TRUST
2005-10. MORTGAGE LOAN PASS-THROUGH CERT|F|CATES, SERlES 2005-10 at 425 WALNUT STREET,
CINC|NNAT|, Ol-i 45202

Executed By: JAMES M. L)’tNDWERi_ENl A MARR|ED NiAN To: MORTGAGE ELECTRON|C REG|STRAT|ON
SYSTEMS, |NC.. AS NOlvi|NEE FOR F|RST NATlONAL BANK OF ARiZONA

Date of Mortgage: 06!30/2005 Recorded: 08)'01/2005 in Book/Ree|iLiber: OR 18995 Page/Folio: 0740 as
instrument No.: 20050475148 in the County of Paim Beach, State of Florida.

Property Address: 3114 SOUTH OCEAN BOULEVARD #308, H|GHLAND BE)'¢\CHl Fl_ 33487

Lega|: CONDO|V||N|UM PARCEL NO. 308, |VIONTEREY HOUSE CONDON||N|UM, A CONDOM|N|UM,
ACCORD!NG TO THE DECLARAT|ON OF CONDOM|N|UM THEREOF, AS RECORDED |N OFF|C|AL RECORDS
BOOK1839, PAGE 1470 OF THE PUBL|C RECORDS OF PAi_Ni BEACH COUNT¥, FLOR|DA.

KNOW ALL MEN BY THESE PRESENTS, that for good and valuable consideration, the receipt and sufficiency of
which is hereby acknowledged. the said Assignor hereby assigns unto the above-named Assignee, the said
Mortgage having an original principal sum of $304.000.00 with interest, secured thereby, and the full benefit of all the
powers and of all the covenants and provisos therein contained, and the said Assignor hereby grants and conveys
unto the said Assignee. the Assignoi's interest under the Mortgage

TO HAVE AND TO HOLD the said Mortgage, and the said property unto the said Assignee forever, subject to the
terms contained in said Mortgage.

MORTGAGE ELECTRON|C REG|STRAT|ON SVSTEMS, |NC., AS NOM|NEE FOR F|RST NATlONAL BANK OF
AR|ZONA, |TS SUCCESSORS AND ASS|GNS

On January12th,2018

By:
COU_EEN BARNE`|'|', Vice-`Pr&ident

 

STATE OF Texas
COUNTY OF Dai|as

On January 12th, 2018. before me, OMAR BASPED, a Notary Public in and for Dai|as in the State of Texas.
personally appeared COl_LEEN BARNE'|'|', Vice-Presidentl personally known to me (or proved to me on the basis of
satisfactory evidence) to be the person(s) whose name(s) isiare subscribed to the within instrument and
acknowledged to me that he/shelthey executed the same in his/her/their authorized capacity, and that by
his/heritheir signature on the instrument the person(s), or the entity upon behalf of which the person(s) acted,
executed the instrument

 

 

 

 

 

 

WlTNESS my hand and ochia| seal, "\`Mgg% OMAH BASPED z
="\a°.-'.N@?~'?._ Notarv Public. State of Taxas d

d:"`""§_~_/ E»,‘:§,"; ______ t’"§ comm. stories 12-04-2019 y
OMAR BASPED "'»i'i?.‘...\~\\` screw to isoasesso y

 

 

Notary Expires: 1204/2019 #130458850
(`|' his area for notarial sea|)

Prepared By: Miche|ie Bow|es, NATlONSTAR MORTGAGE DBA MR. COOPER 8950 CYPRESS WATERS BLVD, COPPELL,
TX 750191-888-430-2432

 

 

_‘ CaSe 17-09064-RL|\/|-7 OC 22 Filed 01/25/18 EOD Ol/ 8 12231:50 PQ 32 Ol 37

ADJUSTABLE RATE NOTE
(iVlTA-Twe|ve Nlonth Average index - Payment Caps)

THIS NOTE CONTAINS PROVISIONS THAT WILL CHANGE THE INTER_E`.ST RATE
AND THE MONTHLY PAYMENT. THERE MAY BE A LIMIT ON THE AMOUNT
THAT THE MONTHLY PAYMENT CAN INCREASE OR DECREASE. THE
PR.INCIPAL AMOUNT TO REPAY COULD BE GR.EATER THAN THE AMOUNT
OR.IGINALLY BOR_ROWED, BUT NOT MORE THAN THE MAXIMUM LIMIT

STATED IN THIS NOTE.
06/30/05 HIGHLAND BEACH FL
roare] [cny] [Statel
3114 SOUTH OCEAi\i BOULEVARD#ZIDB. HIGHLAND BEACl-l . FL 33487
[Property Acldress]
I. BORROWER'S PROMISE TO PAY
In return for a loan that I have received, I promise to pay U.S. $ 3 0 4 - 0 0 9 ~ 0 0 (this amount is

called "Principal"), plus interest, to the order of Lender. The Principal amount may increase as provided under

the terms of this Note but will never exceed ( One Hundred Fifteen % ) of the Principal amount I originally

borrowed. This is called the "Maximum Limit." Lender is
FIRST NATlONAL BANK OF ARIZONA
I will make all payments under this Note in the form of cash, check or money order.
I understand that Lender may transfer this Note. Lender or anyone who takes this Note by transfer and who is entitled
to receive payments under this Note is called the "Note Ho|der."

2. INTEREST
(A) Interest Rate
Interest will he charged on unpaid Principal until the full amount of Prlncipal has been paid. I will pay interest at
a yearly rate of 1 . 7 5 0 0%. The interest rate I will pay may change
The interest rate required by this Section 2 is the rate I will pay both before and after any default described in Section l
7(B) of this Note. t
l
i
|
l
l
|

(B) Interest Rate Change Dates

The interest rate 1 will pay may change on the 1 s t clay of 0 c t o h e r 2 0 0 5 , and on that
day every month thereafter. Each date on which my interest rate could change is called an "Interest Rate Change Date." The
new rate of interest will become effective on each Interest Rate Change Date. The interest rate may change monthly, but the
monthly payment is recalculated in accordance with Section 3.

(C) Index

Beginning with the first Interest Rate Change Date, my adjustable interest rate will be based on an lndex. The
"index" is the "Twelve-Month Average" of the annual yields on actively traded United States Treasury Securities
adjusted to a constant maturity of one year as published by the Federal Reserve Board in the Federal Reserve Statistical
Release entitled "Selected Interest Rates (H.l$)" (the "Monthly Yields“). The Twelve Month Average is determined by
adding together the Monthiy Yields for the most recently available twelve months and dividing by 12. The most recent
Index figure available as of the date 15 days before each Interest Rate Change Date is called the "Current Index".

If the Index is no longer available, the Note Holder will choose a new index that is based upon comparable
information The Note Ho|der will give me notice of this choice,

(D) Calculation of Interest Rate Changes
Before each Interest Rate Change Date, the Note I'Iolder Will calculate my new interest rate by adding
T h r e e a n d 3 / 2 0 percentage point(s)3 . 1 5 0 0 % ("Margin") to the Current Index. The Note Holder

will then round the result of this addition to the nearest one-eighth of one percentage point (0.125%). This rounded
amount will be my new interest rate until the next Interest Rate Change Date. My interest will never be greater than

9 . 9 5 il’/¢tl Beginning with the first Interest Rate Change Date, my interest rate will never be lower than the Margin.

3. PAYMENTS
(A) Time and Place of Payments
I will make a payment every month.
I will make my monthly payments on the 1 s t day cf each month beginning on A u g u s t 2 0 0 5 _ 1

will make these payments every month until l have paid ali the Principal and Interest and any other charges described below
that I may owe under this Note. Each monthly payment will be applied ss of its scheduled due date and will be applied to
interestbefore Principal. If, on J ul y 1 . 2 035 , 1 still owe amounts under this Note, I will pay those
amounts in full on that date, which is called the "Maturity Date."

IwillmakemymonthlypaymentsatP.O. BDX 62768 PHOENIX. AZ 85082-2768

or at a different place if required by the Note Holcler.

_ _ _
Olti€§iliini,

PayOption AR.M Note - MTA Index 10/ 04
Fs-ss iz(FL) (0412) Page 1 or 4

l CaSe 17-09064-RL|\/|-7 OC 22 Filed 01/25/18 EOD Ol/ 8 12231:50 PQ 33 Of 37

(B) Amount of My Initial Monthly Payments
Each of my initial monthly payments until the first Payment Change Date will be in the amount of U.S.
$ 1 , 0 3 5 _ 0 2 unless adjusted under Section 3 (F).

(C) Payment Change Dates
My monthly payment may change as required by Section 3(D) below beginning on the 1 s t day of iii u g u s t 2 0 il 6

and on that day every 12th month thereafter. Each of these dates is called a "Payment Change Date." My monthly payment also
will change at any time Section 3(F) or 3(G) below requires me to pay a different monthly payment. The "Minimum
Payment" is the minimum amount the Note Holder will accept for my monthly payment which is determined at the last
Payment Change Date or as provided in Section 3(F) or 3(G) below. If the Minimum Payment is not sufficient to
cover the amount of the interest due then negative amortization will occur.

I will pay the amount of my new Minimum Payment each month beginning on each Payment Change Date or as
provided in Section 3(F) or S(G) beiow.
l
i
|
i
l

(D) Calculation of Monthly Payment Changes

At least 30 days before each Payment Change Date, the Note Holder will calculate the amount of the monthly
payment that would be sufficient to repay the unpaid Principal that I am expected to owe at the Payment Change Date in
full on the maturity date in substantially equal payments at the interest rate effective during the month preceding the
Payment Change Date. The result of this calculation is called the "Full Payment. "Unless Section 3(F) or 3(G) apply, the
amount of my new monthly payment effective on a Payment Change Date, will not increase by more than 7.5% of my
prior monthly payment. This 7.5% limitation is called the "Payment Cap." This Payment Cap applies only to the Principal
and interest payment and does not apply to any escrow payments Lender may require under the Security Instrument. The
Note Ho|der will apply the Payment Cap by taking the amount of my Minimum Payment due the month preceding the
Payment Change Date and multiplying it by the number 1.075. lThe result of this calculation is called the "Limited
Payment." Unless Section 3(F) or 3(G) below requires me to pay a different arnount, my new Minimum Payment will be
the lesser of the Limited Payment and the Fuli Payment l also have the option to pay the Full Payment for my monthly
payment.

(E) Additions to My Unpaid Principal

Since my monthly payment amount changes less frequently than the interest rate, and since the monthly payment is
subject to the payment limitations described in Section 3 (D), my Minimum Payment could be less than or greater than
the amount of the interest portion of the monthly payment that would be sufficient to repay the unpaid Principal l owe
at the monthly payment date in full on the Maturity Date in substantially equal payments For each month that my
monthly payment is less than the interest portion, the Note Holder will subtract the amount of my monthly payment
from the amount of the interest portion and will acid the difference to my unpaid Principal, and interest will accrue on the
amount of this difference at the interest rate required by Section 2. For each month that the monthly payment is greater
than the interest portion, the Note Holder will apply the payment as provided in Section 3 (A).

(F) Limit on My Unpaid Principal; Increased Monthly Payment

My unpaid Principal can never exceed the Maximum Limit equal to 1 1 5 percent of the Principal
amount I originally borrowed My unpaid Principal could exceed that Maximum Limit due to Minimum Payments and
interest rate increases In that event, on the date that my paying my monthly payment would cause me to exceed that
limit, l will instead pay a new monthly payment. This inealts that my monthly payment may change more frequently than
annually and such payment changes will not be limited by the 7.5% Payment Cap. The new Minimum Payment will be in
an amount that would be sufficient to repay my then unpaid Principal in full on the Maturity Date in substantially equal
payments at the current interest rate.

(G) Required Fuil Payment

On the fifth Payment Change Date and on each succeeding fifth Payment Change Date thereafter, I will begin
paying the Fuii Payment as my Minimum Payment until my monthly payment changes again. I also will begin paying
the Full Payment as my Minimum Payment on the final Payment Change Date.

(H) Payment Options
After the first Interest Rate Change Date, Lender may provide me with up to three (3) additional payment options
that are greater than the Minimum Payment, which are called "Payment Options." I may be given the following Payment
Options:
(i) Interest Only Payment the amount that Would pay the interest portion of the monthly payment at the

current interest rate. The Principal balance will not be decreased by this Payment Option and it is only available if
the interest portion exceeds the Minimum Paymentl

(ii) Fully Amcrtized Payment: the amount necessary to pay the loan off (Principal and Interest) at the
Maturity Date in substantially equal payments

(iii) 15 Year Amortized Payment: the amount necessary to pay the loan off (Principal and Interest) within a
fifteen (15) year term from the first payment due date in substantially equal payments This monthly payment
amount is calculated on the assumption that the current rate will remain in effect for the remaining term.

These Payment Options are only applicable if they are greater than the Minimum Payment

_ |_|
OHit?)lhien

PayOption ARM Note - MTA Index 10/04
FE-5312(FL) (0412) Page 2 of 4

 

 

.' CaS€ 17-09064-RL|\/|-7 OC 22 Filed 01/25/18 EOD 01/88 12231:50 PQ 34 Of 37

4. NOTICE OF CHANGES

The Note Holder will deliver or mail to me a notice of any changes in the amount of my monthly payment before
the effective date of any change The notice will include information required by law to be given to me and also the title and
telephone number of a person who will answer any question l may have regarding the notice

5. BORROWER'S RIGHT TO PREPAY
I have the right to make payments of Principal at any time before they are due. A payment of Principal only is known

as a "Prepayment." When I make a Prepayment, I will tell the Note Holder in writing that I am doing so. I may not
designate a payment as a Prepayment if I have not made all the monthly payments due under this Note.

I may make a full Prepayrnent or partial Prepayments without paying any Prepayrnent charge. The Note Holder
will use my Prepayments to reduce the amount of Principal that I owe under this Note. If I make a partial Prepayment, there
will be no changes in the due dates of my monthly payments My partial Prepayment may reduce the amount of my
monthly payments after the first Payment Change Date following my partial Prepayment. However, any reduction
due to my partial Prepayment may be offset by an interest rate increase

6. LOAN CHARGES

If a law, which applies to this loan and which sets maximum loan charges, is finally interpreted so that the interest
or other loan charges collected or to be collected in connection with this loan exceed the permitted limits, then: (a) any such
loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (b) any sums already
collected from me that exceeded permitted limits will be refunded to me. The Note Holder may choose to make this
refund by reducing the Principal I owe under this Note or by making a direct payment to me. lf a refund reduces
Principal, the reduction will be treated as a partial Prepayment.

7. BORROWER‘S FAILURE TO PAY AS REQUIRED

(A) Late Charges for Overdue Payments

If the Note Holder has not received the full amount of any monthly payment by the end FIFTEEN (15) calendar
days after the date it is due, I will pay a late charge to the Note Holder. The amount of the charge will be 5.0 % of
my overdue payment of Principal and Interest. I will pay this late charge promptly but only once on each late payment.

(B) Default
If l do not pay the full amount of each monthly payment on the date it is due, I will be in default

(C) Notice of Default

If I am in default, the Note Holder may send me a written notice telling me that if I do not pay the overdue amount
by a certain date, the Note Holder may require me to pay immediately the full amount of Principal that has not been paid
and all the interest that I owe on that amount The date must be at least 30 days after the date on which the notice is mailed tc
me or delivered by other means.

(D) No Waiver By Note Holder
Even if, at a time when I am in default, the Note Holder does not require me to pay immediately in full as
described above, the Note Holder will still have the right to do so if I am in default at a later time.

(E) Payment of Note Holder's Costs and Expenses

It` the Note Holder has required me to pay immediately in full as described above, the Note Holder will have the right
to be paid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by applicable law.
These expenses include, for example, reasonable attorneys' fees.

8. GIVING OF NOTICES
Unless applicable law requires a different method, any notice that must be given to me under this Note will be given

by delivering it or by mailing it by first class mail to me at the Property Address above or at a different address if I give the
Note Holder a notice of my different address,

Unless the Note Holder requires a different method, any notice that must be given to the Note Holder under this Note
will be given by delivering it or by mailing it by first class mail to the Note Holder at the address stated in Section 3(A)
above or at a different address if lam given a notice of that different address,

9. OBLIGATIONS OF PERSONS UNDER THIS NOTE

If more than one person signs this Note, each person is fully and personally obligated to keep all the promises
made in this Note, including the promise to pay the full amount owed. Any person who is a guarantor, surety or endorser
of this Note is also obligated to do these thingsl Any person who takes over these obligations including the obligations cfa
guarantor, surety or endorser of this Note, is also obligated to keep all the promises made in this Note. The Note Holder
may enforce its rights under this Note against each person individually or against all of us together. This means that any
one of us may be required to pay all the amounts owed under this Note.

Otiitliltlal_

PayOption ARM Note - MTA Inclex 10/04
FE-5312(FL) (0412) Pagc 3 offl-

 

 

,` CaSe 17-09064-RL|\/|-7 OC 22 Filed 01/25/18 EOD Ol/ 8 12231:50 PQ 35 Of 37

10. WAIVERS

I and any other person who has obligations under this Note waive the rights of Presentment and Notice of Dishonor.
"Presentment" means the right to require the Note Holder to demand payment of amounts due. "Notice of Dishonor" means
the right to require the Note Holder to give notice to other persons that amounts due have not been paid.

ll. SECURED NOTE - “ t l t s ,

In addition to the protections given to the Note Holder under this Note, a Mortgage, Deed of Trust,- or Security
Deed (the "Security Instrument"), dated the same date as this Note, protects the Note Holder from possible losses that
might result if I do not keep the promises that I make in this Note. That Security Instrument describes how and under what
conditions I may be required to make immediate payment in full of all amounts I owe under this Note. Some of these
conditions are described as Jfollows:

Transfer of the Property or a Bcnci'lcial Interest in Borrower. As used in this Section
18, "Interest in the Property" means any legal or beneficial interest in the Property, including, but not
limited to, those beneficial interests transferred in a bond for deed, contract for deed, installment sales
contract or escrow agreement, the intent of which is the transfer of title by Borrower at afuture date
to a purchaser.

If all or any part of the Property or any Interest in the Property is sold or transferred (or if

Borrower is not a natural person and a beneficial interest in Borrower is sold or transferred) without `
Lender's prior written consent, Lender may require immediate payment in full of all sums secured by
this Security Instrument. I-Iowever, this option shall not be exercised by Lender if such exercise is
prohibited by Applicable Law. Lender also shall not exercise this option if:
(a) Borrower causes to be submitted to Lender information required by Lender to evaluate the intended
transferee as if a new loan were being made to the transferee; and (b) Lender reasonably
determines that Lender's security will not be impaired by the loan assumption and that the risk of a
breach of any covenant or agreement in this Security Instrument is acceptable to Lender.

To the extent permitted by Applicable Law, Lender may charge a reasonable fee as acondition
to LendeIJs consent to the loan assumption Lender may also require the transferee to sign an assumption
agreement that is acceptable to Lender and that obligates the transferee to keep all the promises and
agreements made in the Note and in this Security Instrument. Borrower Will continue to be
obligated under the Note and this Security Instrument unless Lender releases Borrower in writing.

If Lender exercises the option to require immediate payment in full, Lender shall give
Borrower notice of acceleration The notice shall provide a period of not less than 30 days from the date
the notice is given in accordance with Section 15 within Which Borrower must pay all sums secured by
this Security Instrument. If Borrower fails to pay these sums prior to the expiration of this period,
Lender may invoke any remedies permitted by this Security Instrument without further notice or demand
on Borrower.

12. DOCUMENTARY 'I`AX
The state documentary tax due on this Note has been paid on the mortgage securing this indebtedness

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED.

__/1
_ C~`»-~ /¢\ f g cc./M-'- rseai)

class M. LANowERLEN

 

 

   

 

R OF
PAY 10 THE ORDE (Seal
r PM 'ro"manD, )
- - onus n~lC.
CouN'rRY‘.vtDi; HOME L mo Recounse c v
`N“HOM P£Cm ge COUNTR DE HOME LOAN , m , (Seal)
' Ci-:s
visits custom seem ,
couNTRYwiDE occur _ ry gmi win
“ioid. or 'rRS:ASU \ , BY
wle " consumer
m owe En£“ damaging Dlrec!or (Seal)
vice ransmral'r

_ OWE’EWM l_l

PayOption ARM Note - MTA Indcx 10/04
FE-5312(FL) (0412) Pagc 4 of 4

CaSe 17-09064-RL|\/|-7 .22 Filed 01/25/18 ' EOD 01/232231250 PQ 36 Of 37

  
  

 

 

`-nH¢ nw
Vice Pmsidam

"~O Hsri>_'g gsr-y -..,- cj. -.
_*l ' `- s

.._4.____ __

f ‘1.1,'»!',033;_~.; rUCH? v,"'"_
ni ! r'_*_‘\‘,"oJ g_cJOH aci if n b

-\- fu .. ` f
"°»‘-‘¢=.S A ca
133;§11.’0-\;'; \- .. " "‘°'_
" ’: 1313 R.*`t'»,? 'L`! ""h,e~ __ fn

T"'il?¥¢'l{tl'!_- :_')i v

CaSe 17-09064-RLl\/|-7w22 Filed 01/25/18 EOD Ow2231:50 PQ 37 Of 37

ADDENDUM TO NOTE
(Borrower’s Rjght to Prepay; Prepayment Charge)

THIS ADDENDUM is made this BOTH day of lone , zggj , and is
incorporated into and intended to form a part of the Note dated the same date as this
Addendum.

The Section of the Note regarding the Borrower’s right to prepay is modified to provide
that, subject to the Prepayment penalty provided below, l have the right to make
payments of principal at any time before they are due, A payment of Principal only is
known as a “Prepayment.” When I make a Prcpayment, I will tell the Note Holder in
writing that l am doing so. l may not designate a payment as a Prepayment if l have not
made all the monthly payments due under the Note.

The Note Holder will use my Prepayinents to reduce the amount ofPrincipal that I owe
under the Note. However, the Note Holder may apply my Prepayment to the accrued and
unpaid interest on the Prepayment arnount, before applying my Prepayment to reduce the
Principal amount of the Note.

If l make a partial Prepayment equal to one or more of my monthly payrnents, the due
date of my next scheduled monthly payment may be advanced no more than one month.
If l make a partial Prep ayment in any other arnount, l must still make all subsequent
monthly payments as scheduled

If the Note contains provisions for a variable interest rate, my partial Prepayment may
reduce the amount of my monthly payments after the first Change Date following my
partial Prepayment. However, any reduction due to my partial Prepayrnent may be offset
by an interest rate increase

If within the first Twell'e ( 12 ) months nom the date the Security
Instrument is executed I make a hill Prepayment or one or more partial Prepayments, and
the total of all such Prepayments in any 12~month period exceeds twenty percent (20%)
of the original Principal amount of the loan, l will pay a Prepayment charge in an amount
equal to SIX (6) months advance interest on the amount prepaid which is in excess of
TWENTY percent (20%) of the original principal amount of the loan.

 

No pre-payment penalty will be assessed for any pre-payment made after the Penalty
Period. No pre-payment penalty will be assessed with any pre-payment that is (a)
concurrent with a bona tide sale of the Property securing this Note to an unrelated third
party and (b) made after the first twelve months of the loan term. The Note Holder may
require reasonable documentation at the time identifying the pre-payment as being in
connection with the sale of the Property. A pre-payment penalty will be assessed in
connection with a pre-p ayment made during the first twelve months of the Penalty
Period, regardless of whether the Property has been sold.

All other provisions of the Note are unchanged by this Addendum and remain in full

force an c t.
C>/’“`V v

JA ES M. LANDWERLEN Date Date

 

 

 

Date

7/6)'2004 Addenclum to Note Multi»State

Form 3020 (Rev.)

 

